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                                     UNITED STATES DISTRICT COURT
                                     EASTERN DISTRICT OF VIRGINIA
                                         ALEXANDRIA DIVISION


                                                                   -X                CLEHK, U.S. DISTRICT COURT
                                                                                    .   ALEXANDRIA. VlRftii
                                                                   )
     UNITED STATES OF AMERICA,                                     )    FILED ELECTRONICALLY
     ex rei JON H. OBERG,                                          )
                                                                   )
                        Plaintiff,                                 )
                                                                   )
     v.                                                            )
                                                                   )
     NELNET, INC., et ai,                                          )
                                                                   )
                        Defendants.                                )    No. 1:07cv960 (CMH/JFA)
                                                                   )



                                                                   )
                                                                   -X




                              STIPULATION AND [MMil00M»| ORDER
                           GOVERNING CONFIDENTIAL INFORMATION



                    WHEREAS, various parties and non-parties will be responding to discovery


     requests in this litigation (the "Litigation" or "Action");


                    WHEREAS, the parties and certain non-parties desire that discovery provided in

     this litigation be subject to a confidentiality agreement;


                    NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by


     and among the undersigned attorneys for the respective parties hereto, subject to further order of


     the Court, that the following order governing confidential information (the "Order") shall govern

     the handling of documents and any deposition testimony, deposition exhibits, interrogatory
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     responses, admissions, and any other information produced or given by any party or non-party to

     any party in connection with the prosecution and defense of the Action.


     Definitions


             1.     "Party" or "Parties" shall mean any defendant who has been named in the Action


     at any time, the United States, and Relator Jon H. Oberg.


            2.      "Producing Party" shall mean any Party or non-party producing documents or

     other information in the Action.


            3.      "Documents" shall mean anything that may be considered to be a document or


     tangible thing under the Federal Rules of Civil Procedure including, but not limited to:


     interrogatory answers served by any Party; responses to requests to admit served by any Party;


     documents produced by any Producing Party, whether pursuant to formal discovery or by


     informal agreement; transcripts of and exhibits to depositions taken in the Action; and any

     portions of any documents filed in the Action that quote from or summarize any of the foregoing

     documents.


     Designation of Documents


            4.      A Producing Party may designate as "Confidential" such information as the


     Producing Party in good faith deems confidential, in accordance with Rule 26 of the Federal

     Rules of Civil Procedure, on the basis that such information constitutes a trade secret or other

     sensitive research, development or commercial information, employee or labor relations

     materials or personal information, a financial or business plan, data or projections; proposed

     plans and strategies, financial, trading, accounting, audit or tax information; competitive

     analyses; transcripts of testimony provided to governmental entities; or other commercially

     sensitive or proprietary information that would present a risk of negatively impacting its existing
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     or prospective commercial relationships or competitive position. (Documents that are designated

     as "Confidential" are hereinafter referred to as "Confidential Information.")


            5.      A Producing Party may, at its option, designate as "Highly Confidential" non-

     public communications with governmental representatives or entities, trade secrets, or other

     highly confidential information the disclosure of which the Producing Party determines in good

     faith would present a significant risk of competitive or commercial harm to the Producing Party.

     (Documents that are designated as "Highly Confidential" are hereinafter referred to as "Highly

     Confidential Information.")


            6.      Confidential Information and Highly Confidential Information shall not include

     unaltered copies of any documents in the public domain (as long as they did not become public

     in violation of this Protective Order), including, but not limited to, annual, quarterly, or other

     reports sent to shareholders, press releases, and public documents filed with the Securities and

     Exchange Commission ("SEC") or other regulatory body.


            7.      Designation of material as Confidential Information may be made by stamping or

     otherwise inscribing "Confidential" upon every page of the document that is confidential.

     Designation of material as Highly Confidential Information may be made by stamping or

     otherwise inscribing "Highly Confidential" upon every page of the document for which such

     designation is made. If a Producing Party inadvertently produces documents or other materials

     that it considers to be "Confidential" or "Highly Confidential" without such designation, the

     Producing Party may subsequently designate such documents or other materials as

     "Confidential" or "Highly Confidential" by delivering written notice of such designation to the

     other Parties. It shall not be deemed a violation of this Order to have disclosed information not

     designated Confidential Information or Highly Confidential Information that is subsequently so
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     designated if disclosure was made prior to such designation. Any failure of the Parties to


     designate Confidential Information as "Confidential," or Highly Confidential Information as


     "Highly Confidential," shall not be deemed a waiver of any claim of confidentiality that the


     Parties would otherwise be entitled to invoke against a person or entity who/which is not a Party


     (who has agreed to the undertaking in Exhibit A, hereto).


              8.    To the extent that matter stored or recorded in the form of electronic or magnetic

     media (including information, files, databases or programs stored on any digital or analog


     machine-readable device, computers, discs, networks or tapes) is produced in such form, the


     Producing Party may designate such material as Confidential or Highly Confidential by cover


     letter referring generally to such matter and by affixing (where possible) a label on the media or


     its casing indicating such designation.


              9.    In the event that non-parties produce Documents or information in connection


     with the Action, the Parties and all other persons subject to this Order agree that production by


     non-parties of such Documents or information shall be made subject to the provisions of this

     Order.


     Designation of Deposition Transcripts


              10.   In the case of depositions, designation of the transcript or portion of the transcript


     (including exhibits) that contains Confidential Information or Highly Confidential Information


     shall be made by a statement by counsel to that effect on the record during the course of the

     deposition or by written notice, sent by counsel to all Parties within ten (10) calendar days after

     receiving a copy of the transcript thereof. All deposition transcripts shall be treated as

     Confidential within the meaning of this Order during the pendency of the 10-day period for

     giving written notice, unless and until such material has been designated as Highly Confidential,
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     in which case such material shall be treated accordingly. If a Confidential designation is made,

     either on the record at the deposition or by way of written notice as described above, the Court

     reporter shall be directed to affix the legend "Contains Confidential Information" on the cover

     page and the legend "Confidential" on all appropriate pages of the transcript and each copy


     thereof. If a Highly Confidential designation is made, either on the record at the deposition or by

     way of written notice as described above, the Court reporter shall be directed to affix the legend

     "Contains Highly Confidential Information" on the cover page and the legend "Highly


     Confidential" on all appropriate pages of the transcript and each copy thereof, and if necessary to


     forward a substitute copy of each such page to counsel for the Parties. The Parties may modify

     the above designation procedures for any particular deposition through agreement on the record


     at such deposition, without further order of the Court.

     Use of Confidential and Highly Confidential Information


               11.   No Party, including a Party's agents, consultants, experts, deponents, witnesses


     and attorneys, receiving Confidential Information or Highly Confidential Information shall make


     use of any such Information for any purpose whatsoever other than the prosecution or defense of

     the Action, nor shall any such Information be disclosed by any such Party except as provided


     herein.


               12.   Confidential Information shall not be disclosed to anyone other than those persons


     identified in Paragraph 16, below. Highly Confidential Information shall not be disclosed to

     anyone other than those persons identified in Paragraph 17, below. All persons receiving


     Confidential Information or Highly Confidential Information shall be bound by the terms of this


     Order. If any person violates any of the terms hereof, the aggrieved Party may seek any


     appropriate relief in this Court.
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            13.     To the extent that any Confidential Information or Highly Confidential

     Information is required to be filed with the Court, the parties shall comply with paragraph 12 of

     the Court's January 5, 2010 Rule 16(b) Scheduling Order (Doc. 174). The parties shall

     cooperate in setting briefing schedules for substantive motions to accommodate the need to file

     motions to seal.

             14.    Any Confidential Information or Highly Confidential Information that is

     designated by any Party may be offered into evidence in open court at trial unless the Producing

     Party obtains an appropriate protective order from the Court. Use of any Confidential

     Information or Highly Confidential Information in any court proceeding shall not waive the


     applicability of this Order as to such material. Parties using Confidential Information or Highly


     Confidential Information in open court shall use reasonable best efforts to minimize disclosure to

     persons not authorized to see such material pursuant to paragraph 16 or 17 below, respectively.


     In the event that an appellate motion or brief that contains Confidential Information or Highly


     Confidential Information is filed in the Action by any Party to this Stipulation and Order, such


     Party agrees to consult with the Producing Party concerning the use of such Confidential

     Information or Highly Confidential Information prior to making the appellate filing. If the

     parties are unable to reach an accord as to the use of such Confidential Information or Highly


     Confidential Information in the appellate filing, the Producing Party may seek an appropriate


     order from the appellate court. In any such motion, the Producing Party shall have the burden of


     establishing that the appellate brief or motion should be filed under seal.


     Challenges to Confidentiality Designations


             15.    The Parties will attempt in good faith to raise and, if appropriate, challenge the

     Confidential or Highly Confidential designations of a Producing Party within thirty (30) days of
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     an allegedly improper designation, but this provision does not preclude challenges

     to designations at a later date for good cause shown. In the event a Party objects to a


     Confidential or Highly Confidential designation under this Order by a Producing Party of any

     document (or part thereof), the objecting Party shall consult with the Producing Party to attempt

     to resolve their differences. If the Parties are unable to reach an accord as to the proper


     designation of the material, the objecting Party may move the Court to remove the Confidential


     or Highly Confidential designation. In any such motion, the Producing Party claiming the right


     to designate information as protected as Confidential or Highly Confidential shall have the

     burden of establishing the grounds for the designation and treatment of information as entitled to


     protection in accordance with Rule 26 of the Federal Rules of Civil Procedure or other applicable


     law. Nothing provided in this Stipulation and Proposed Order shall create any presumption that


     any information is entitled to Confidential or Highly Confidential treatment, or any treatment


     that does not result in the public availability of the information or otherwise lessen the burden on

     the Producing Party to establish entitlement to protection from public availability under the


     Federal Rules of Civil Procedure or other applicable law. If a motion is made, any documents or


     other materials that have been designated Confidential or Highly Confidential shall be treated

     accordingly until such time as the Court rules that such material should not be so treated.


     Disclosure of Confidential and Highly Confidential Information


             16.    Except with the prior written consent of the Producing Party requesting


     Confidential treatment, no document designated as Confidential and no information contained


     therein may be disclosed to any person other than the following:


                    a)      Any Party and any current or former officers, directors, partners or

     employees of any Party or an affiliate of any Party.
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                    b)      Counsel for any Party and any attorneys, paralegals, office clerks,

     secretaries, outside copying services and other personnel working under their supervision and


     assigned to perform duties in connection with the prosecution or defense of the Action. Such

     counsel will include both in-house legal staff and outside counsel in the case of a corporate party.


                    c)      Any person who has authored, received or otherwise been provided access


     (in the ordinary course, outside the context of this litigation) to the Confidential Information.


                    d)      Any consultants or experts retained by any counsel of record for any Party


     who agree to be bound by the terms of this Order by executing the undertaking attached as


     Exhibit A.

                    e)      Any and all witnesses and their counsel during testimony (including


     depositions); provided however, that Confidential Information shall not be so disclosed unless


     the Party intending to use the Confidential Information with the witness determines in good faith


     that such disclosure is necessary for the purpose of the testimony.

                    0       Any other person whom a Party in good faith determines may be a

     potential witness at deposition or at trial, who agrees to be bound by the terms of this Order by


     executing the undertaking attached as Exhibit A.


                    g)      Any other person whom counsel for the parties agree in writing should


     have access to such Confidential Information, who agrees to be bound by the terms of this Order


     by executing the undertaking attached as Exhibit A.


                    h)      Any third-party mediator jointly selected by the Parties (including the


     Producing Party) to assist in a possible resolution of their disputes.


                     i)     Deposition and trial court reporters.

                    j)      The Court, court personnel, and jurors.



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                    k)     Any other person whom the Court directs should have access to the


     Confidential Information.


             17.    Except with the prior written consent of the Producing Party requesting Highly


     Confidential treatment, no document designated as Highly Confidential and no information

     contained therein may be disclosed to any person other than the following:

                    a)      Relator.


                    b)      The United States.

                    c)      Any Party's in-house or outside legal counsel who is a signatory hereto, as


     well as any other counsel of record for any Party in the Action.

                    d)      Any person who has authored, received or otherwise been provided access


     (in the ordinary course, outside the context of this litigation) to the Highly Confidential

     Information.


                    e)      Any consultants or experts retained by any counsel of record for any Party


     who agree to be bound by the terms of this Order by executing the undertaking attached as


     Exhibit A.


                    f)      Any and all witnesses and their counsel during testimony (including


     depositions); provided however, that Highly Confidential Information shall not be so disclosed


     unless the Party intending to use the Highly Confidential Information with the witness


     determines in good faith that such disclosure is necessary for the purpose of the testimony; and

     provided however, that this paragraph 17(0 does not authorize any witness or its counsel to view


      Highly Confidential material in preparation for testimony as opposed during testimony itself; and


     provided however, that all copies of Highly Confidential material used during testimony shall be

      returned to the Producing Party upon the conclusion of the testimony during which it is used.
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                     g)      Any other person whom counsel for the parties agree in writing should


      have access to such Highly Confidential Information, who agrees to be bound by the terms of

      this Order by executing the undertaking attached as Exhibit A.

                     h)      Any third-party mediator jointly selected by the Parties (including the


      Producing Party) to assist in a possible resolution of their disputes.

                     i)      Deposition and trial court reporters.


                     j)      The Court, court personnel, and jurors.


                     k)      Any other person whom the Court directs should have access to the Highly


      Confidential Information.

              18.    Prior to the first disclosure of Confidential Information or Highly Confidential

      Information to any person or entity listed in paragraph 16 or 17 above (including those persons


      and entities not required to execute Exhibit A hereto), counsel for the disclosing Party shall

      deliver a copy of this Order to the person or entity to whom disclosure will be made and explain


      its terms to such person. Counsel for the Parties shall be responsible for maintaining a list of all

      persons to whom disclosure of Confidential Information or Highly Confidential Information is


      made subject to a requirement that Exhibit A be executed by the person, as well as copies of the

      undertakings signed by such persons. The names of persons who have signed the form attached

      as Exhibit A shall not be discoverable except upon a showing of good cause and by order of the

      Court. Every person given access to Confidential Information or Highly Confidential


      Information shall not make copies, duplicates, extracts, summaries or descriptions of such


      material, or any portion thereof, except for use in connection with the Action, and each such


      copy is to be treated in accordance with the provisions of this Stipulation and Order.




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              19.    In the event a Party desires to disclose information designated as Confidential or


      Highly Confidential by a Producing Party to any person other than those categories of persons


      enumerated in paragraphs 16 and 17 above, counsel for the Party wishing to disclose the

      Confidential or Highly Confidential Information shall give at least three (3) business days'


     written notice to counsel for the Producing Party and all other Parties, together with


      identification of each document or deposition testimony to be disclosed and the identity (name,


      address, and occupation) of each person to whom such disclosure is intended. The Producing

      Party or the other Parties shall have three (3) business days thereafter in which to notify counsel


     seeking disclosure of any objection to such disclosure. In the event that the Producing Party or


     any other Party objects to the intended disclosure after notice, counsel shall endeavor to


      negotiate all objections to disclosure. In the event negotiations fail to resolve all objections,

     counsel for the Party wishing to disclose the Confidential or Highly Confidential Information


      may petition the Court, within ten (10) business days after providing written notice to counsel for

     all Parties and counsel for any relevant Producing Party that a Court order permitting disclosure

     of Confidential or Highly Confidential Information will be sought, for an order to allow such

     disclosure. Upon notification of intent to file such a petition, disclosure shall be prohibited

      unless and until such a requested order is granted by the Court.


             20.     Nothing herein shall impose any restrictions on the use or disclosure by a Party of


     any document, material or information legitimately obtained by such Party independently of the

     discovery proceedings in the Action. This Order shall not apply to any document, testimony or

     other information that: (i) is already in the Party's possession, or (ii) is or becomes generally

     available to the public other than as a result of disclosure in violation of this Order, or (iii) is or




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      becomes available to a Party other than through formal discovery in the Action or any other


     action involving any of the Parties.


             21.     Nothing herein shall restrict or preclude any Producing Party from disclosing its

     own Confidential Information or Highly Confidential Information to any person or entity without


      regard to the provisions of this Protective Order.


             22.     Nothing herein shall restrict or preclude any Party from responding to a subpoena


     or other request issued in another action or proceeding. However, upon receipt of a subpoena or


     other compulsory request for Confidential Information or Highly Confidential Information, the


      Party shall forward a copy of the subpoena or compulsory request to the Producing Party within


     five (5) business days of service and afford the Producing Party seven (7) business days after the

     receipt of such notice to contest the production of Confidential Information or Highly


     Confidential Information sought by the subpoena or other compulsory request. If the Producing


      Party fails to seek or obtain an appropriate order, the Party responding to the subpoena or other


     compulsory request will not be deemed in breach of this Order by producing Confidential


      Information or Highly Confidential Information sought by the subpoena or other request.

             23.     In the event that Confidential Information or Highly Confidential Information is

      produced pursuant to subpoena or compulsory process, such information shall continue to be


     treated as Confidential Information or Highly Confidential Information by all persons subject to

     this Stipulation and Order, unless and until the Court otherwise directs.

     Miscellaneous


             24.     Entering into, agreeing to and/or producing Confidential Information or Highly


     Confidential Information pursuant to, or otherwise complying with, the terms of this Stipulation

     and Order shall not:



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                     a)        operate as an admission by any Party that any particular Confidential

      Information or Highly Confidential Information contains or reflects trade secrets or any other

      type of Confidential Information or Highly Confidential Information;

                     b)        prejudice in any way the rights of the parties to object to the production of

     documents they consider not subject to discovery, or operate as an admission by any Party that


     the terms and procedures set forth herein constitute adequate protection for any particular

      information deemed by any Party to be Confidential Information or Highly Confidential

      Information;


                     c)        prejudice in any way the rights of any Party to object to the authenticity or

     admissibility into evidence of any document, testimony, or other evidence subject to this


      Stipulation and Order;


                     d)        prejudice in any way the rights of a Party as to whether any Confidential


      Information or Highly Confidential Information should be subject to the terms of this Stipulation

     and Order; or


                     e)        prejudice in any way the rights of a Party to petition the Court for a further

     protective order relating to any purportedly Confidential Information or Highly Confidential

      Information.


             25.     Neither the act of production of Confidential Information or Highly Confidential

      Information by a Party, nor the receipt of Confidential Information or Highly Confidential

      Information by a Party, shall be deemed to waive any testimonial or other privileges or

     protections that the Party producing such Confidential Information or Highly Confidential

      Information may otherwise have.




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             26.     The inadvertent production of documents subject to the attorney-client privilege

      or the attorney work product doctrine, or any other ground on which production should not be

      made, will not waive such privileges or protections; provided, however, that this Order shall not

      prevent any Party from moving to compel production of allegedly privileged documents on any

     grounds. Upon a request from a Producing Party that has inadvertently produced any document

     that it believes may be subject to the attorney-client or attorney work-product privilege, or other

     protections, any Party receiving said document shall immediately return such document and any

     copies thereof to the Producing Party and shall be barred from using that material or any copies

     thereof, or any information derived therefrom in the Action or otherwise. Nothing herein,

     however, shall prevent the Party from moving, on reasonable notice, and on such grounds other

     than the inadvertent production of such material, for an order challenging the designation of such

     material as privileged or protected material, and may attach to the motion copies of the material

      in question; provided however, that any such motion shall be filed under seal in accordance with

     the Court's Scheduling Order and/or applicable local rules.


             27.     This Order may be amended only by the written agreement of counsel for the

     Parties and approval of the Court, or upon motion seeking relief from or modification of this

     Order from the Court. Nothing in this Protective Order shall be construed to prevent a Producing

     Party from seeking such further provisions regarding confidentiality as it deems appropriate, or

     to prevent any Party from seeking relief from this Stipulation and Order.

             28.     The Parties agree to be bound by the terms of this Stipulation and Order pending

     the entry of this Order, or an alternative thereto that is satisfactory to all Parties, by the Court,

     and any violation of its terms shall be subject to the same sanctions and penalties, as if this Order

     had been entered by the Court.



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             29.     Nothing in this Stipulation and Order shall affect any privilege or right that any


      Producing Party might otherwise have against the discovery of any materials sought by any


      Party. Notwithstanding this Stipulation and Order, any Producing Parly may move the Court for


      an order imposing additional restrictions upon discovery of documents or other material,


      including, but not limited to, an order that production thereof not be had.


             30.     Within sixty (60) days of the conclusion of the Action, including exhaustion of all


      appeals, all documents or other data designated as Confidential or Highly Confidential (including


      summaries and excerpts) and all copies thereof, in the possession of or under the control of any


      Party or officer or employee thereof, counsel retained by such Party, retained expert or other

      person described in paragraph 16 or 17 hereof, shall be destroyed promptly or returned to

      counsel for the Producing Party that designated the information as Confidential or Highly


      Confidential, unless otherwise specifically agreed in writing by the Producing Party. However,


      subject to the terms of this Order, the parties and their counsel may retain copies of briefs and

      other papers that contain or constitute such Confidential Information or Highly Confidential


      Information, including correspondence, deposition transcripts, trial exhibits of record and


      attorney's work product (excluding copies of any annexed materials that have been designated as


      Confidential Information or Highly Confidential Information). Any such briefs and other papers


      shall continue to be treated pursuant to the terms of this Order. Upon the request of counsel for


      the Producing Party, counsel signing this Stipulation and Order shall provide a letter affirming


      compliance with the requirements of this paragraph.

              31.    This Stipulation and Order shall be effective immediately and shall survive the


      conclusion of this Action, unless otherwise ordered by the Court. The Court shall retain


      jurisdiction to enforce the terms of this Stipulation and Order.



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               32.    Any party covered by this Stipulation and Order may at any time apply to the


      Court for relief from any provision of this Stipulation and Order.

               33.    The Court may impose appropriate sanctions for the disclosure of Confidential

      Information or Highly Confidential Information in violation of this Protective Order.


               34.    This Stipulation and Order may be executed in counterparts. Each counterpart


      when so executed shall be deemed an original, and all shall constitute the same instrument.




      SO ORDERED.


                                                                         /s/
      Dated:
                                                               John F. Anderson
                                                        United States Magistrate Judge



               /s/                                                 /s/
      Robert S. Lavet                                       Jody Manier Kris
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             Isl
     Dr. Jon H. Oberg




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                                               EXHIBIT A

                I hereby acknowledge that I will be receiving Confidential Information or Highly

        Confidential Information pursuant to the terms of a Stipulation and Order (the "Order") entered

        in the Action, entitled U.S. ex rel. Oberg v. Nelnet Inc.. et a/.n No. 1:07cv960 (CMH/JFA) (E.D.

        Va.). I have been given a copy of, and have read and understand, the Order, and 1 agree to be

        bound by the terms and conditions of the Order. I understand that (i) 1 am to make no copies of

        any such Confidential Information or Highly Confidential Information, except as is necessary for

        use in the referenced action, and (ii) such Confidential Information or Highly Confidential

        Information and any copies thereof are to remain in my personal custody until I have completed

        my assigned duties, whereupon they are to be returned to counsel who provided me with such

        Confidential Information or Highly Confidential Information or destroyed. 1 agree not to

        disseminate any information derived from such Confidential Information or Highly Confidential

        Information to anyone, or make disclosure of any such information, except for the purposes of

        the referenced proceedings, or as permitted by the Order, or by further order of the Court.


                                                          Signature                 Date



                                                                      Print Name
